B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Central District of Illinois

Michele Ann Carey
In re tka Michele Wood; fka Michele Nyberg

 

Case No. 20-70096

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Oceanside Mortgage Company

 

Name of Transferee

Name and Address where notices to transferee
should be sent:

Oceanside Mortgage Company

PO Box 100077

Duluth, GA 30096
Phone: 800.603.0836

Last Four Digits of Acct #: 2490

 

Name and Address where transferee payments

should be sent (if different from above):
Oceanside Mortgage Company

PO Box 105178
Atlanta, GA 30348-5178

Phone:
Last Four Digits of Acct #: 2490

 

Oceanside Mortgage Company

 

Name of Transferor

Court Claim # (if known): 16-1
Amount of Claim: $103,226.09
Date Claim Filed: 03/27/2020

Phone: 800.349.0787
Last Four Digits of Acct. #: 3472

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knowledge and belief.

By: /s/ Molly Slutsky Simons
Transferee/Transferee’s Agent

 

Date: 01/04/2021

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
